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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JANE DOE I and II, minors, by and through their mothers
                                                    )
and next friends, MARY DOE I and II,                )
                           Plaintiffs,              )
       v.                                           )                 Case No: 1:18-cv-03201
                                                    )                 Honorable Judge
THE BOARD OF EDUCATION OF THE CITY OF               )                 Virginia M. Kendall
CHICAGO and CASINO CRUZ, in his individual capacity )
and as an employee of the CHICAGO PUBLIC SCHOOLS, )
                             Defendants.            )



     AGREED MOTION SEEKING COURT APPROVAL OF THE PARTIES’ RELEASE
                     AND SETTLEMENT AGREEMENT


         Defendant BOARD OF EDUCATION OF THE CITY OF CHICAGO (“Board”) by its

attorneys of record, and requests that this Honorable Court approve the aforementioned parties’ fully

executed Release and Settlement Agreement. The parties state as follows in support of their Agreed

Motion:

1.       Plaintiffs JANE DOE I and II, minors, by and through their mothers and      next    friends,

         MARY DOE I and II and Defendants BOARD and CASINO CRUZ (collectively the

         “Parties”), have fully executed a Release and Settlement Agreement (“Agreement”). Because

         the Agreement involves minors, the Parties seek the Court’s approval pursuant to Local Rule

         17.1.

2.       Said Agreement was provided to the Court for review via email through the Court's proposed

         order inbox e-mail address on September 12, 2019.


         WHEREFORE, Plaintiffs JANE DOE I and II, minors, by and through their mothers and

next friends, MARY DOE I and II and Defendants BOARD and CASINO CRUZ respectfully

request that this Honorable Court grant their request to approve their fully executed Release and

Settlement Agreement.
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                                             Respectfully submitted,

                                             DEFENDANT BOARD OF EDUCATION FOR
                                             THE CITY OF CHICAGO

                                             JOSEPH MORIARTY,
                                             General Counsel

                                     By:     /s/ Susan Best
                                             Susan J. Best
                                             Assistant Deputy General Counsel
                                             Board of Education of the City of Chicago
                                             1 N. Dearborn Street, Suite 900
                                             Chicago, Illinois 60602
                                             Telephone: 773-553-1700


                                CERTIFICATE OF SERVICE

        The undersigned attorney certifies that on September 12, 2019, she served the foregoing
document, Agreed Motion to Approve Settlement Agreement, via electronic filing, upon all parties
with an appearance on file.



                                             /s/ Kathryn Kohls
                                             Kathryn Kohls
